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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,       )
                                 )
         Plaintiff,              )                            Civil No. 11-109-GFVT
                                 )
 V.                              )
                                 )
 THE ESTATE OF SHIRLEY ANN ROWE, )                                    ORDER
 et al.,                         )
                                 )
         Defendants.             )

                                      *** *** *** ***
       This matter is before the Court on the Motion to Accept Report of Warning Order

Attorney [R. 23] and the Motion for Excess Fees and Expenses [R. 24] filed by James D. Hodge.

Mr. Hodge was appointed by Order of this Court [R. 7] as warning order attorney for Defendants

Unknown Heirs of Shirley Ann Rowe and Unknown Spouses of the Unknown Heirs of Shirley

Ann Rowe. No objections or responses have been filed and the time for doing so has elapsed.

See LR 7.1(c).

       In support of his motion for fees above the customary $150 set forth in this Court’s

Standing Order, Mr. Hodge states that he spent nine hours attempting to locate the Defendants

and filing his report. [R. 24.] He states that forty-six Defendants were identified and sent copies

of the Complaint, and he notes that 132 exhibits were attached to the final Report. [Id.]

Additionally, his Report reflects that the answer to the Complaint filed by Leon and Judy Rowe,

the brother and sister-in-law of Shirley Rowe, identified twenty-two potential heirs of Shirley

Rowe that Mr. Hodge needed to contact. For these reasons, the Court will grant Mr. Hodge’s

motion and award him an excess fee.
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          Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

          1.     The Motion to Accept Report of Warning Order Attorney [R. 23] is GRANTED

and the Warning Order Report is ACCEPTED;

          2.     The Motion for Excess Fees and Expenses [R. 24] is GRANTED;

          3.     James D. Hodge is awarded a fee of $800.00 plus expenses in the amount of

$371.53. Such fees and expenses shall be taxed as costs and paid by the United States of

America pursuant to this Court’s Order [R. 7]; and

          4.     James D. Hodge is discharged from further service as Warning Order Attorney

herein.

          This the 26th day of July, 2011.




                                                2
